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                                            Friday, December 22, 2023 at 13:57:08 Paciﬁc Standard Time

Subject: Ref: F-2023-12770, Freedom of Information Act Acknowledgement
Date:    Friday, December 22, 2023 at 1:19:30 PM Paciﬁc Standard Time
From:    a_FOIAacknowledgement@groups.state.gov
To:      Curtis Morrison



*THIS EMAIL BOX IS NOT MONITORED, PLEASE DO NOT REPLY TO THIS
EMAIL.**

Dear Mr. Morrison:

This email acknowledges receipt of your September 5, 2023, Freedom of Information
Act (FOIA) (5 U.S.C. § 552)
request received by the U.S. Department of State, Office of Information Programs and
Services on September 6, 2023.

You are seeking a copy of the January 20, 2021, President Biden's proclamation
requiring that within 120 days of the date of the proclamation (by May 25, 2021), the
Secretary of State and the Secretary of Homeland Security, in consultation with the
Director of National Intelligence, shall provide to the President a report consisting of
the following elements: (a) A description of the current screening and vetting
procedures for those seeking immigrant and nonimmigrant entry to the United States.
This should include information about any procedures put in place as a result of any
of the Executive Order and Proclamations revoked in section 1 of this proclamation
and should also include an evaluation of the usefulness of form DS-5535. (b) A
review of foreign government information-sharing practices vis-à-vis the United
States in order to evaluate the efficacy of those practices, their contribution to
processes for screening and vetting those individuals seeking entry to the United
States as immigrants and nonimmigrants, and how the United States ensures the
accuracy and reliability of the information provided by foreign governments. (c)
Recommendations to improve screening and vetting activities, including diplomatic
efforts to improve international information-sharing, use of foreign assistance funds,
where appropriate, to support capacity building for information-sharing and identity-
management practices, and ways to further integrate relevant executive department
and agency data into the vetting system. (d) A review of the current use of social
media identifiers in the screening and vetting process, including an assessment of
whether this use has meaningfully improved screening and vetting, and
recommendations in light of this assessment. Presidential Proclamation 10141,
Proclamation on Ending Discriminatory Bans on Entry to The United States,
published in the Federal Register at 86 FR 7005 (January 25, 2021), (emphasis

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added). The requestor hereby asks for section (a) of this report, and any emails
between the State Department and government contractors including General
Dynamics and Quality Support, Inc. about the contents of the above-referenced report
that reference the keywords “DS-5535” or “DS5535”. (Date Range for Record Search:
From 01/21/2021 To 09/05/2023). Unless you advise otherwise, we will treat as non-
responsive any compilations
of publicly available news reports and any publicly available documents not created
by the U.S. government, such as mass-distribution emails from news media.
This Office assigned your request the subject reference number and placed it in the
complex processing track where it will be processed as quickly as possible. See 22
CFR § 171.11(h).

This Office will not be able to respond within the 20 days provided by the statute due
to “unusual circumstances.” See 5 U.S.C. § 552(a)(6)(B)(i)-(iii).
In this instance, the unusual circumstances include the need to search for and collect
requested records from other Department offices or Foreign Service posts.

If you have any questions regarding your request, would like to narrow the scope or
arrange an alternative time frame to speed its processing,
or would like an estimated date of completion, please contact our FOIA Requester
Service Center or our FOIA Public Liaison by email
at FOIAstatus@state.gov or telephone at 202-261-8484. Additionally, you may
contact the Office of Government Information Services (OGIS)
at the National Archives and Records Administration to inquire about the FOIA
mediation services they offer.
The contact information for OGIS is as follows: Office of Government Information
Services, National Archives and Records Administration,
8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, email at
ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448;
or facsimile at 202-741-5769.

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